
PER CURIAM.
Appellant, a juvenile, was charged in a delinquency petition with breach of the peace, battery of a law enforcement officer, and resisting arrest. Upon hearing appellant was adjudged delinquent, placed in a community control program under supervision of the Youth Services Program, ordered to pay restitution in a manner and amount to be determined by the counselor, attend counseling, and abide by a curfew.
In this appeal it is contended that the trial judge committed reversible error in ordering that the amount and manner of restitution be determined by the counselor. We find merit in appellant’s contention.
In E. Y. v. State, 390 So.2d 776 (Fla.3d DCA 1980), we held that it was reversible error for the trial court to delegate judicial authority to the juvenile’s counselor to determine the amount of restitution. For the reason stated, that portion of the order directing restitution in a manner and *599amount to be determined by the counselor is reversed. In all other respects the order appealed is affirmed.
Affirmed in part and reversed in part with directions to the court to afford appellant an evidentiary hearing as to the manner and amount of restitution to be paid to the victim.
